AO 455 (Rev. 01/09) Waiver of an Indictment

UNITED STATES DISTRICT COURT

United States of America
Vv

Martin B. Webber

 

Defendant .

for the

Western District of Missouri

case No. |4- (1H) 01 -00-S- SEB

WAIVER OF AN INDICTMENT

I understand that I have been accused of one or more offenses punishable by imprisonment for more than one
year. I was advised in open court of my rights and the nature of the proposed charges against me.

After receiving this advice, | waive my right to prosecution by indictment and consent to prosecution by

information.

  

 

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Signature of defendant's attorney

Dee Wampler
Prieted name of defendant’s attorney

De VL

Judge's signature

 

David P. Rush, United States Magistrate Judge

Judge's printed name and title

Case 6:19-cr-03129-SRB Document1 Filed 09/23/19 Page 1of1
